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 2   ANNE PINGS
     Assistant U.S. Attorney
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     Sacramento, California 95814
 4   Telephone: (916) 554-2785
 5
 6
 7
 8
 9                    IN THE UNITED STATES DISTRICT COURT
10                  FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA,     )
13                                 )        2:07-cr-0109-FCD
               Plaintiff,          )
14                                 )
               v.                  )        STIPULATION & ORDER
15                                 )        SETTING HEARING DATE
     MARLENA JOHNSON,              )        FOR CHANGE OF PLEA
16                                 )
                    Defendant.     )
17   ______________________________)
18        It is hereby stipulated and agreed, by and between the
19
     defendant Marlena Johnson, by and through her counsel, Danny D.
20
     Brace, and the United States, through its counsel, Assistant United
21
     States Attorney Anne Pings, to vacate the previously set status
22
     hearing date of October 22, 2007, as to this defendant only, and to
23
     set a hearing date of November 26, 2007, at 10:00 a.m. for change of
24
     plea by this defendant.
25
26        Defendant Johnson has expressed her intent to enter a plea of

27   guilty pursuant to an agreement with the United States.          The parties

28   need additional time to prepare the written agreement and to

     finalize its terms.   In addition, Ms. Johnson has only recently been
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 1   released from a drug rehabilitation program.        Counsel for the
 2   defendant will use the additional time to review the discovery
 3   files, discuss the parameters and consequences of a plea with Ms.
 4   Johnson, and to conduct any necessary factual investigation
 5
     necessary in order to finalize the agreement.
 6
          The Court’s availability on the proposed date of November 26,
 7
     2007, has been verified with the Court's clerk.
 8
          The parties agree that the Court should find that time should
 9
     be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(iv)
10
     (preparation of counsel) in that the ends of justice served by
11
12   allowing defendant's counsel time to conduct investigation in a

13   manner he believes necessary to provide effective representation in

14   advising his client of the terms and consequences of a guilty plea

15   outweigh the best interest of the public and the defendant in a
16   speedy trial.
17   DATED: October 19,   2007              Respectfully submitted,
18                                          McGREGOR W. SCOTT
19                                          United States Attorney

20                                          /s/ Anne Pings

21                                          ANNE PINGS
                                            Assistant United States Attorney
22
23
                                            /s/ Anne Pings
24
                                            For Danny D. Brace
25                                          Counsel for Defendant Johnson
26        IT IS SO ORDERED.
27
     Dated: October 19, 2007
28
                                     _______________________________________
                                     FRANK C. DAMRELL, JR.
                                     UNITED STATES DISTRICT JUDGE
